Case: 1:21-cv-06159 Document #: 39-1 Filed: 01/28/22 Page 1 of 83 PageID #:1543




                               Exhibit 1
     Case:
      Case:1:21-cv-06159
            1:18-cv-07442Document
                          Document#:#:39-1
                                       43 Filed:
                                           Filed:01/15/19
                                                  01/28/22Page
                                                           Page12ofof32
                                                                      83PageID
                                                                         PageID#:4109
                                                                                #:1544




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BURBERRY LIMITED, A UNITED
KINGDOM COMPANY, AND BURBERRY                      Case No. 18-cv-07442
LIMITED, A NEW YORK CORPORATION,
                                                   Judge Sara L. Ellis
                Plaintiffs,
                                                   Magistrate Judge Susan E. Cox
v.

XIE JI PING, et al.,

                Defendants.


                                  FINAL JUDGMENT ORDER

         This action having been commenced by Plaintiffs Burberry Limited, a United Kingdom

company (“Burberry UK”), and Burberry Limited, a New York corporation (“Burberry US”),

together, “Burberry” or “Plaintiffs,” against the defendants identified on Schedule A, and using

the Defendant Domain Names and Online Marketplace Accounts (collectively, the “Defendant

Internet Stores”), and Burberry having moved for entry of Default and Default Judgment against

the defendants identified on Schedule A attached hereto (collectively, the “Defaulting

Defendants”);

         This Court having entered upon a showing by Burberry, a temporary restraining order

and preliminary injunction against Defaulting Defendants which included a domain name

transfer order and asset restraining order;

         Burberry having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication or e-mail, along with any notice that

Defaulting Defendants received from domain name registrars and payment processors, being

notice reasonably calculated under all circumstances to apprise Defaulting Defendants of the

                                               1
  Case:
   Case:1:21-cv-06159
         1:18-cv-07442Document
                       Document#:#:39-1
                                    43 Filed:
                                        Filed:01/15/19
                                               01/28/22Page
                                                        Page23ofof32
                                                                   83PageID
                                                                      PageID#:4110
                                                                             #:1545




pendency of the action and affording them the opportunity to answer and present their

objections; and

       Defaulting Defendants having failed to answer the Amended Complaint or otherwise

plead, and the time for answering the Amended Complaint having expired;

       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Defendant Internet Stores through which Illinois residents can purchase products

using counterfeit versions of the BURBERRY Trademarks (a non-exclusive list of which is

included in the chart below).


 REGISTRATION           REGISTERED         REGISTRATION             INTERNATIONAL
   NUMBER               TRADEMARK             DATE                      CLASSES
   260,843              BURBERRY            08/27/1929      For: clothing – namely, coats
                                                            and topcoats for men, women,
                                                            and children; jackets for men,
                                                            women, and children; breeches
                                                            for boys; suits for men and
                                                            boys; waistcoats for men,
                                                            women, and children; overalls
                                                            for women and children; skirts
                                                            for outer wear for women and
                                                            children; capes for men,
                                                            women, and children; hats and
                                                            caps for men, women and
                                                            children; bonnets for children;
                                                            hoods and toques for men,
                                                            women, and children; neckties
                                                            for men, women, and children;
                                                            stockings and socks for men,
                                                            women, and children; braces


                                             2
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page34ofof32
                                                                 83PageID
                                                                    PageID#:4111
                                                                           #:1546




REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                     and suspenders for men and
                                                     children; belts for outer wear
                                                     for men, women, and children;
                                                     boots of rubber and fabric or
                                                     combinations of these materials
                                                     for men, women and children;
                                                     shoes and slippers of leather,
                                                     rubber, and fabric or
                                                     combinations of these materials
                                                     for men, women, and children;
                                                     gloves for men, women, and
                                                     children, of leather and fabric in
                                                     class 025.

  1,133,122        BURBERRY            04/15/1980    For: handbags, travelling bags,
                                                     leather travelling cases, attaché
                                                     cases, leather briefcases, purses,
                                                     pocket wallets, umbrellas in
                                                     class 018.

  1,607,316        BURBERRY            07/24/1990    For: spectacles, sunglasses
                                                     fitted cases, frames and lenses,
                                                     all for sunglasses, for spectacles
                                                     in class 009.

  1,747,765        BURBERRY            01/19/1993    For: wrist watches and straps
                                                     and bracelets therefor, and cuff
                                                     links in class 014.

  2,624,684        BURBERRY            09/24/2002    For: retail store services
                                                     featuring clothing, watches,
                                                     sunglasses, accessories, shoes,
                                                     luggage, leather goods and
                                                     fragrances in class 035.
  2,875,336        BURBERRY            08/17/2004    For: sunglasses, combined
                                                     sunglasses, spectacles, optical
                                                     glasses, fitted frames and lenses
                                                     for the aforesaid goods; cases


                                        3
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page45ofof32
                                                                 83PageID
                                                                    PageID#:4112
                                                                           #:1547




REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                     and holders for the aforesaid
                                                     goods; parts and fittings for all
                                                     the aforesaid goods; cases and
                                                     holders for portable computers
                                                     and mobile telephones in class
                                                     009.

                                                     For: watches, clocks and parts
                                                     and fittings for all the aforesaid
                                                     goods, wrist watches and straps
                                                     and bracelets therefor and
                                                     pocket watches, jewelry,
                                                     imitation jewelry, tie-pins and
                                                     cuff links; and jewelry boxes,
                                                     hat and shoe ornaments all
                                                     made of precious metal or
                                                     coated therewith in class 014.

  3,879,249        BURBERRY            11/23/2010    For: articles of outer clothing,
                                                     namely, coats, jackets,
                                                     rainwear, ponchos, gilets,
                                                     detachable coat linings,
                                                     raincoats; blousons; casual
                                                     coats; polo shirts; blouses;
                                                     dresses; pyjamas; knitwear,
                                                     namely, jerseys, jumpers,
                                                     cardigans, sweaters, knitted
                                                     leggings; shorts; trousers; suits;
                                                     skirts; jackets; articles of
                                                     underclothing, namely, boxer
                                                     shorts, lingerie, loungewear,
                                                     nightwear, underwear,
                                                     undergarments; hosiery;
                                                     headwear; footwear; sports
                                                     clothing, namely, sweat pants,
                                                     sweat shirts, swimwear; sports
                                                     footwear; tracksuits; ready-
                                                     made linings, namely, finished


                                        4
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page56ofof32
                                                                 83PageID
                                                                    PageID#:4113
                                                                           #:1548




REGISTRATION       REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER           TRADEMARK            DATE                      CLASSES
                                                     textile linings for garments;
                                                     ties; clothing belts; wraps;
                                                     scarves; shawls and stoles;
                                                     gloves in class 025.

  3,898,440        BURBERRY            01/04/2011    For: articles made from
                                                     material and textile, namely,
                                                     bed blankets, blanket throws,
                                                     children’s blankets, lap
                                                     blankets, towels, handkerchiefs,
                                                     cushion covers in class 024.

  4,702,550        BURBERRY            03/17/2015    For: candles in class 004.

                                                     For: metal key holders; metal
                                                     key rings in class 006.

                                                     For: goods made of paper or
                                                     cardboard, namely, paper
                                                     labels, cardboard boxes, paper
                                                     bags, paper gift tags; catalogues
                                                     and pamphlets in the field of
                                                     fashion; posters, photo albums;
                                                     photographs; stationery; writing
                                                     implements; wrapping and
                                                     packaging materials, namely,
                                                     gift wrapping paper, gift bags;
                                                     paper ribbon; greeting cards,
                                                     notelets; pen holders; book
                                                     covers; notebooks for writing;
                                                     paperweights; paper napkins;
                                                     passport and document covers
                                                     and holders in class 016.

                                                     For: all-purpose carrying bags,
                                                     trunks, valises, suitcases,
                                                     travelling bags, garment bags
                                                     for travel, vanity cases sold


                                        5
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page67ofof32
                                                                 83PageID
                                                                    PageID#:4114
                                                                           #:1549




REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                     empty, rucksacks, satchels,
                                                     holdalls, handbags, shoulder
                                                     bags, attaché-cases, briefcases,
                                                     credit card holders, briefcase-
                                                     type portfolios, athletic and
                                                     sports bags, beach bags, carry-
                                                     on bags, clutch bags, duffel and
                                                     gym bags, overnight bags,
                                                     school book bags, tote bags,
                                                     reusable shopping bags; purses,
                                                     leather pouches, wallets;
                                                     pochettes; luggage label
                                                     holders; cosmetic cases and
                                                     bags sold empty; cosmetic
                                                     cases for manicure sets sold
                                                     empty, jewelry rolls for travel;
                                                     umbrellas, parasols; walking
                                                     sticks and canes; clothing for
                                                     pets; horse blankets, collars and
                                                     leashes for animals in class 018.

                                                     For: furniture; mirrors; picture
                                                     frames; paper photo frames;
                                                     ornaments of wood, horn, bone,
                                                     shell, mother-of-pearl, and
                                                     substitutes for all these
                                                     materials; three dimensional
                                                     plastic ornaments; mattresses,
                                                     air mattresses for use when
                                                     camping, bean bag chairs and
                                                     beds, pet beds; cushions;
                                                     window blinds; clothes hangers;
                                                     fitted furniture coverings; deck
                                                     chairs and folding chairs in
                                                     class 020.

                                                     For: buttons, hooks and eyes,
                                                     snap fasteners, press studs, zip


                                        6
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page78ofof32
                                                                 83PageID
                                                                    PageID#:4115
                                                                           #:1550




REGISTRATION       REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER           TRADEMARK            DATE                      CLASSES
                                                     fasteners, haberdashery in the
                                                     nature of fabric appliques,
                                                     decorative ribbons, buckles for
                                                     clothing, belts and shoes;
                                                     ornamental novelty badges;
                                                     articles for hair, namely, hair
                                                     ties, hair bands, hair ribbons,
                                                     hair clips in class 026.

                                                     For: games, namely, board
                                                     games, playing cards and card
                                                     games, dice games, dominoes;
                                                     playthings, namely, toy dolls,
                                                     toy figurines, toy vehicles,
                                                     stuffed toy animals including
                                                     teddy bears, clothing for toys;
                                                     Christmas tree decorations;
                                                     sports equipment and covers
                                                     and holders therefor, namely,
                                                     covers for golf clubs, skis and
                                                     tennis sports equipment in the
                                                     nature of tennis racquets in
                                                     class 028.

  3,202,484        BURBERRY            01/23/2007    For: articles of outer clothing,
                    LONDON                           namely, coats, trench coats,
                                                     casual coats, jackets, shirts,
                                                     dresses, ties in class 025.

  2,610,329         PRORSUM            08/20/2002    For: clothing, namely,
                                                     footwear, raincoats, blousons,
                                                     casual coats, polo shirts,
                                                     blouses, dresses, skirts, jackets,
                                                     trousers, suits, shirts in class
                                                     025.

  2,654,697         PRORSUM            11/26/2002    For: articles of luggage,
                                                     namely, suitcases, carry-on


                                        7
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page89ofof32
                                                                 83PageID
                                                                    PageID#:4116
                                                                           #:1551




REGISTRATION       REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER           TRADEMARK            DATE                     CLASSES
                                                     bags, clutch bags, overnight
                                                     bags, shoulder bags, tote bags,
                                                     carryall bags, traveling bags,
                                                     hand bags, wallets and purses in
                                                     class 018.

  510,077                              05/24/1949    For: clothing – namely, coats
                                                     and topcoats for men, women,
                                                     and children; jackets for men,
                                                     women and children; breeches
                                                     for boys; suits for men and
                                                     boys; waistcoats for men,
                                                     women, and children; skirts for
                                                     outer wear for women and
                                                     children; capes for men,
                                                     women, and children; hats and
                                                     caps for men, women, and
                                                     children; bonnets for children;
                                                     hoods, and toques for men,
                                                     women, and children; neckties
                                                     for men, women and children;
                                                     stockings and socks for men,
                                                     women, and children; braces
                                                     and suspenders for men, and
                                                     children; belts for outer wear
                                                     for men, women , and children;
                                                     boots for men, women, and
                                                     children, of leather and rubber
                                                     or combinations of these
                                                     materials; shoes and slippers for
                                                     men, women, and children; of
                                                     leather, rubber, and fabric or
                                                     combinations of these
                                                     materials; gloves for men,
                                                     women, and children of leather
                                                     and fabric in class 025.




                                        8
Case:
 Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed: 01/15/19
                                              01/28/22 Page
                                                       Page 910ofof3283PageID
                                                                        PageID#:4117
                                                                                #:1552




REGISTRATION         REGISTERED         REGISTRATION             INTERNATIONAL
  NUMBER             TRADEMARK             DATE                      CLASSES
  1,241,222                              06/07/1983     For: coats, top coats, jackets,
                                                        trousers, slacks, waistcoats,
                                                        skirts, capes, hats, bonnets,
                                                        berets, shirts, scarves, shawls
                                                        and blouses in class 025.


  1,855,154                               09/20/1994    For: watches, and parts
                                                        therefor; straps, bracelets for
                                                        wrist watches; cuff links in
                                                        class 014.


  2,022,789                               12/17/1996    For: suitcases, traveling bags,
                                                        holdalls, suit and garment
                                                        carriers for travel, attaché cases,
                                                        document cases, briefcases,
                                                        purses, drawstring pouches,
                                                        wallets, billfolds, passport
                                                        holders, key cases, handbags,
                                                        shoulder bags, credit card cases,
                                                        business card cases, toilet bags
                                                        sold empty, toilet cases sold
                                                        empty, shaving bags sold
                                                        empty, tie cases for travel,
                                                        umbrellas and parasols in class
                                                        018.

                                                        For: traveling comforter,
                                                        namely, fabric blanket-like
                                                        articles for keeping warm, e.g.,
                                                        when traveling in cold climates,
                                                        or for use as a stadium blanket
                                                        in class 024.

                                                        For: clothing for men and
                                                        women, namely, scarves,
                                                        pullovers, cardigans, sweaters,
                                                        overcoats, raincoats, shirts,

                                          9
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page10
                                                           11ofof32
                                                                  83PageID
                                                                     PageID#:4118
                                                                            #:1553




REGISTRATION        REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER            TRADEMARK            DATE                      CLASSES
                                                      belts; slippers for men in class
                                                      025.

  2,612,272                             08/27/2002    For: retail store services in the
                                                      fields of clothing, accessories,
                                                      shoes, luggage, leather goods
                                                      and fragrances in class 035.



  2,728,709                             06/24/2003    For: fabrics for use in the
                                                      manufacture of clothing,
                                                      underclothes, swimwear,
                                                      headwear, footwear, hosiery,
                                                      socks; and belts; fabrics for use
                                                      in the manufacture of cosmetics
                                                      cases and bags, toiletry cases
                                                      and bags, and shaving cases and
                                                      bags; fabrics for use in the
                                                      manufacture of purses, pouches,
                                                      bags, luggage, carriers, travel
                                                      bags, and suit and garment
                                                      bags; fabrics for use in the
                                                      manufacture of cases and
                                                      holders for money, documents,
                                                      keys, glasses, and ties; fabrics
                                                      for use in the manufacture of
                                                      umbrellas and parasols and
                                                      cases thereof; fabrics for use in
                                                      the manufacture of straps and
                                                      bracelets for watches, and
                                                      straps for shoes and bags;
                                                      fabrics for use in the
                                                      manufacture of lining for all the
                                                      foregoing goods; comforters
                                                      and blankets in class 024.




                                        10
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page11
                                                           12ofof32
                                                                  83PageID
                                                                     PageID#:4119
                                                                            #:1554




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                     CLASSES
  2,732,617                            07/01/2003     For: perfumes, eau de toilettes,
                                                      eau de parfums; body lotion,
                                                      soaps; personal deodorants;
                                                      aftershave; shampoo for the
                                                      hair and for the body; shower
                                                      gels; bath gels in class 003.

                                                      For: articles of luggage,
                                                      namely, suitcases, athletic and
                                                      sport bags, beach bags, carry-on
                                                      bags, clutch bags; duffel and
                                                      gym bags; overnight bags;
                                                      school book bags, shoulder
                                                      bags, tote bags, garment bags
                                                      for travel, carryall bags,
                                                      traveling bags, hand gabs,
                                                      leather bags for computers and
                                                      cameras; wallets and purses;
                                                      toiletry bags sold empty and
                                                      cosmetics bags sold empty;
                                                      brief cases, satchels and
                                                      portfolios; parasols, umbrellas,
                                                      walking sticks; leather key fobs,
                                                      leather key holders in class 018.

                                                      For: articles of outerclothing,
                                                      namely, coats, overcoats, trench
                                                      coats, casual coats, raincoats,
                                                      jackets and blousons, polo
                                                      shirts, blouses, dresses,
                                                      pyjamas, knitwear namely,
                                                      jumpers, sweaters, gilets,
                                                      knitted shirts, knitted skirts and
                                                      knitted scarves; and shorts,
                                                      trousers, suits, skirts,
                                                      underclothes, hosiery,
                                                      headwear, footwear, sports
                                                      clothing namely, sports


                                        11
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page12
                                                           13ofof32
                                                                  83PageID
                                                                     PageID#:4120
                                                                            #:1555




REGISTRATION        REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER            TRADEMARK            DATE                      CLASSES
                                                      trousers, sports shorts, sports
                                                      shirts, sports jackets, sports
                                                      footwear; tracksuits; garments
                                                      that can be attached to or
                                                      detached from coats, raincoats,
                                                      trench coats, or casual coats for
                                                      additional warmth; ties, belts,
                                                      wraps, serapes, scarves, shawls
                                                      and stoles, gloves in class 025.

  2,845,852                             05/25/2004    For: sunglasses, spectacles,
                                                      optical glasses; fitted frames
                                                      and lenses for the aforesaid
                                                      goods; cases and holders for the
                                                      aforesaid goods; carrying cases
                                                      and holders for portable
                                                      computers and mobile
                                                      telephones in class 009.

  3,529,814                             11/11/2008    For: non-metal key fobs in class
                                                      020.

                                                      For: blankets, throws,
                                                      handkerchiefs, textile used as
                                                      linings for clothing and
                                                      accessories, fabrics for use in
                                                      the manufacture of clothing,
                                                      footwear, headwear, hosier,
                                                      belts, bags, cases, holders and
                                                      key rings, umbrellas, watches,
                                                      jewelry, towels, blankets,
                                                      throws in class 024.

                                                      For: coats, detachable coat
                                                      linings, rainwear, ponchos,
                                                      jackets, gilets, jerseys, jumpers,
                                                      sweaters, blouses, shirts, polo
                                                      shirts, t-shirts, vests, dresses,


                                        12
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page13
                                                           14ofof32
                                                                  83PageID
                                                                     PageID#:4121
                                                                            #:1556




REGISTRATION        REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER            TRADEMARK            DATE                       CLASSES
                                                      skirts, trousers, jeans, shorts,
                                                      ski wear, sports shirts, sports
                                                      trousers, sweat shirts,
                                                      waterproof clothing, namely,
                                                      coats, jackets, and bikinis,
                                                      sarongs, swimwear, bathrobes,
                                                      boxer shorts, loungewear,
                                                      nightwear, undergarments, ties,
                                                      cravats, footwear, shoes, boots,
                                                      athletic footwear, slippers,
                                                      ballet slippers, socks, leggings,
                                                      caps, hats, head scarves, belts,
                                                      gloves, mufflers, scarves,
                                                      shawls, stoles, pashminas,
                                                      children’s and infant’s clothing,
                                                      namely, coats, jackets, ponchos,
                                                      jerseys, sweaters, blouses,
                                                      shirts, t-shirts, singlets, vests,
                                                      tank tops, waistcoats, suits,
                                                      dresses, skirts, trousers, jeans,
                                                      shorts, children’s headwear,
                                                      children’s swimwear, children’s
                                                      nightwear, children’s
                                                      undergarments, and one-piece
                                                      clothing, headwear, footwear;
                                                      cloth bibs in class 025.

                                                      For: teddy bears in class 028.

                                                      For: retail store services in the
                                                      fields of clothing, accessories,
                                                      footwear, headgear, luggage,
                                                      leather goods, timepieces,
                                                      jewelry, eyewear and
                                                      fragrances in class 035.




                                        13
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page14
                                                           15ofof32
                                                                  83PageID
                                                                     PageID#:4122
                                                                            #:1557




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                     CLASSES
  4,166,277                            07/03/2012     For: non-medicated toilet
                                                      preparations; cosmetic
                                                      preparations for the bath and
                                                      shower; non-medicated body
                                                      and skin care preparations;
                                                      cosmetic preparations for care
                                                      of teeth and for hair; nail care
                                                      preparations and polish; nail
                                                      accessories, namely, false nails;
                                                      soaps; anti-perspirants,
                                                      deodorants; perfumes, eau de
                                                      cologne, eau de toilette and
                                                      toilet water; essential oils,
                                                      massage oil; potpourri, room
                                                      fragrance and incense; cleaning
                                                      preparations for leather and
                                                      non-leather good in class 003.

                                                      For: sunglasses, spectacles,
                                                      optical glasses, fitted frames
                                                      and lenses for the aforesaid
                                                      goods, cases and holders for the
                                                      aforesaid goods, and parts and
                                                      fittings for all the aforesaid
                                                      goods; cases and holders
                                                      specially adapted for use with
                                                      portable electronic devices,
                                                      mobile telephones, portable
                                                      audio and video systems and
                                                      computers; camera cases;
                                                      mobile phones and mobile
                                                      phone accessories, namely,
                                                      mobile phone covers and skins,
                                                      charms and lanyards for mobile
                                                      phones mobile phone fascias in
                                                      the nature of protective covers
                                                      in class 009.



                                        14
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page15
                                                           16ofof32
                                                                  83PageID
                                                                     PageID#:4123
                                                                            #:1558




REGISTRATION        REGISTERED        REGISTRATION             INTERNATIONAL
  NUMBER            TRADEMARK            DATE                      CLASSES
                                                      For: watches, clocks and parts,
                                                      fittings and cases for all the
                                                      aforesaid goods; watch straps
                                                      and bracelets therefore;
                                                      jewellery, imitation jewellery,
                                                      tie-pins, tie clips and cuff links;
                                                      articles made of precious metals
                                                      or coated therewith, namely,
                                                      key rings, charms, badges, shoe
                                                      ornaments; jewellery boxes and
                                                      cases; models and figures of
                                                      precious metal in class 014.

                                                      For: all-purpose carrying bags,
                                                      trunks, valises, suitcases,
                                                      travelling bags, garment bags,
                                                      baby bags, baby carriers worn
                                                      on the body, baby harnesses
                                                      worn on the body, rucksacks,
                                                      satchels, holdalls, handbags,
                                                      shoulder bags, shopping bags,
                                                      wheeled shopping bags; purses,
                                                      pouches; wallets, key holders
                                                      made of leather or imitations of
                                                      leather, credit card holders of
                                                      leather and imitations of
                                                      leather, pochettes; labels,
                                                      luggage labels and tags all
                                                      made of leather and imitations
                                                      of leather; cosmetic cases and
                                                      bags sold empty, case for
                                                      manicure sets sold empty;
                                                      jewellery rolls for travel;
                                                      umbrellas, parasols; clothing
                                                      for pets; horse blankets; collars
                                                      and leashes for animals in class
                                                      018.



                                        15
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page16
                                                           17ofof32
                                                                  83PageID
                                                                     PageID#:4124
                                                                            #:1559




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                      CLASSES
                                                      For: textiles and textile items,
                                                      namely, bed blankets, bed
                                                      covers, bed linen, cot linen,
                                                      duvets, and curtains; towels;
                                                      face cloths; mattress covers;
                                                      pillowcases; quilts and
                                                      eiderdowns; bed sheets; table
                                                      covers; unfitted fabric furniture
                                                      covers, wall hangings, cushion
                                                      covers; placemats of textile;
                                                      handkerchiefs; travelling rugs;
                                                      pet blankets; textile labels in
                                                      class 024.

                                                      For: clothing, namely, shirts,
                                                      polo shirts, blouses, dresses,
                                                      shorts, trousers, suits, skirts,
                                                      jerseys, jumpers, sweaters,
                                                      cardigans, gilets, t-shirts,
                                                      singlets, vests, tank tops,
                                                      waistcoats, jeans, pyjamas,
                                                      coats, overcoats, trench coats,
                                                      casual coats, raincoats, jackets,
                                                      ponchos, blousons, capes,
                                                      lingerie, underwear,
                                                      undergarments, sleepwear,
                                                      loungewear; ski wear, sports
                                                      trousers, sports shorts, sports
                                                      shirts, sports jackets, sweat
                                                      pants, sweat shirts, sweat
                                                      shorts, tracksuits, swimwear;
                                                      ready-made linings sold as
                                                      component parts of coats;
                                                      clothing belts; ties, wraps,
                                                      serapes, sarongs, scarves,
                                                      shawls and stoles; gloves;
                                                      tights, socks, stockings, hosiery,
                                                      leggings; footwear; headwear in


                                        16
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page17
                                                           18ofof32
                                                                  83PageID
                                                                     PageID#:4125
                                                                            #:1560




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                    CLASSES
                                                      class 025.

  4,441,542                             11/26/2013    For: sunglasses, camera cases,
                                                      spectacles, optical glasses,
                                                      mobile phone accessories,
                                                      namely, mobile phone covers
                                                      charms and lanyards for mobile
                                                      phones; fitted frames and lenses
                                                      for the aforesaid goods; cases
                                                      and holders for the aforesaid
                                                      goods; parts and fittings for all
                                                      the aforesaid goods; cases and
                                                      holders for portable electronic
                                                      devices, namely, PDAs
                                                      (personal digital assistants),
                                                      smart phones, electronic book
                                                      readers, tablet computers,
                                                      netbooks, electronic notebooks,
                                                      handheld computers and
                                                      portable digital audio and/or
                                                      video players, mobile
                                                      telephones, portable audio and
                                                      video systems and computers in
                                                      class 009.

                                                      For: watches, watch straps and
                                                      bracelets therefor; jewelry,
                                                      imitation jewelry, tie-pins, tie
                                                      clips and cuff links; articles
                                                      made of precious metals or
                                                      coated therewith, namely, key
                                                      rings in class 014.

   863,179                              01/07/1969    For: coats, topcoats, jackets,
                                                      suits, trousers, slacks, shorts,
                                                      overalls, skirts, capes, hats,
                                                      caps, bonnets, hoods, berets,
                                                      neckties, stockings, socks, belts,


                                        17
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page18
                                                           19ofof32
                                                                  83PageID
                                                                     PageID#:4126
                                                                            #:1561




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                     CLASSES
                                                      boots, shoes, slippers, sandals,
                                                      gloves, shirts, collars, pajamas,
                                                      dressing gowns, cardigans,
                                                      sweaters, pullovers, scarves,
                                                      blouses, beach robes, dresses,
                                                      skiwear, and handkerchiefs in
                                                      class 025.
  1,622,186                             11/13/1990    For: sunglasses, spectacles;
                                                      frames and lenses in class 009.




  1,903,508                             07/04/1995    For: watches and parts therefor;
                                                      straps, bracelets for wrist
                                                      watches; jewelry costume
                                                      jewelry; tie pins and cuff links
                                                      in class 014.


  2,512,119                             11/27/2001    For: non-medicated toilet
                                                      preparations, namely, perfumes,
                                                      eau de cologne, and toilet
                                                      water, shampoos, shower gels
                                                      and bath gels; deodorants;
                                                      shaving preparations in class
                                                      003.

                                                      For: articles of luggage,
                                                      namely, suitcases, athletic and
                                                      sport bags, beach bags, carry-on
                                                      bags, clutch bags, overnight
                                                      bags, shoulder bags, tote bags,
                                                      carryall bags, traveling bags,
                                                      hand bags, leather bags for
                                                      computers and cameras; wallets
                                                      and purses; toiletry bags sold
                                                      empty and cosmetic bags sold
                                                      empty; brief cases, satchels and

                                        18
Case:
 Case:1:21-cv-06159
       1:18-cv-07442Document
                     Document#:#:39-1
                                  43 Filed:
                                      Filed:01/15/19
                                             01/28/22Page
                                                      Page19
                                                           20ofof32
                                                                  83PageID
                                                                     PageID#:4127
                                                                            #:1562




REGISTRATION        REGISTERED        REGISTRATION            INTERNATIONAL
  NUMBER            TRADEMARK            DATE                      CLASSES
                                                      portfolios; cases for personal
                                                      organizers and for mobile
                                                      telephones; umbrellas, leather
                                                      key fobs, leather key holders,
                                                      and dog coats in class 018.
  2,952,399                             05/17/2005    For: sunglasses, combined
                                                      sunglasses, spectacles, optical
                                                      glasses, fitted frames and lenses
                                                      for the aforesaid goods; cases
                                                      and holders for the aforesaid
                                                      goods; parts and fittings for all
                                                      the aforesaid goods; computer
                                                      carrying cases and specialty
                                                      holsters and cases for carrying
                                                      mobile telephones in class 009.

                                                      For: watches, and parts and
                                                      fittings for all the aforesaid
                                                      goods, wrist watches and straps
                                                      and bracelets therefor and
                                                      pocket watches, jewelry,
                                                      imitation jewelry, tie-pins and
                                                      cuff links; and jewelry boxes,
                                                      all made of precious metal or
                                                      coated therewith in class 014.
  3,766,097                             03/30/2010    For: textiles and textile goods,
                                                      namely, household linen, bed
                                                      linen, bath linen, bed blankets,
                                                      blanket throws, children’s
                                                      blankets, beach towels,
                                                      handkerchiefs, unfitted fabric
                                                      furniture covers, fabrics for
                                                      textile use and textile used as
                                                      lining for clothing, cushion
                                                      covers in class 024.




                                        19
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page20
                                                            21ofof32
                                                                   83PageID
                                                                      PageID#:4128
                                                                             #:1563




 REGISTRATION           REGISTERED           REGISTRATION                INTERNATIONAL
   NUMBER               TRADEMARK                DATE                        CLASSES
   4,065,311                                   12/6/2011        For: clothing, namely, baby
                                                                layettes for clothing, shirts,
                                                                polo shirts, blouses, dresses,
                                                                shorts, trousers, skirts, jerseys,
                                                                jumpers, sweaters, vests, t-
                                                                shirts, tank tops, jeans, pajamas,
                                                                coats, overcoats, jackets,
                                                                raincoats in class 025.


       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiffs’ Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that:

1.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert

       with them be permanently enjoined and restrained from:

       a. using BURBERRY Trademarks or any reproductions, counterfeit copies or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine Burberry

           product or not authorized by Burberry to be sold in connection with Burberry’s

           BURBERRY Trademarks;



                                               20
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page21
                                                            22ofof32
                                                                   83PageID
                                                                      PageID#:4129
                                                                             #:1564




      b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

         Burberry product or any other product produced by Burberry, that is not Burberry’s or

         not produced under the authorization, control or supervision of Burberry and

         approved by Burberry for sale under the BURBERRY Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defaulting

         Defendants’ products are those sold under the authorization, control or supervision of

         Burberry, or are sponsored by, approved by, or otherwise connected with Burberry;

      d. further infringing the BURBERRY Trademarks and damaging Burberry’s goodwill;

         and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

         moving, storing, distributing, returning, or otherwise disposing of, in any manner,

         products or inventory not manufactured by or for Burberry, nor authorized by

         Burberry to be sold or offered for sale, and which bear any of Burberry’s trademarks,

         including the BURBERRY Trademarks, or any reproductions, counterfeit copies or

         colorable imitations thereof.

2.    The domain name registries for the Defendant Domain Names, including, but not limited

      to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet and the Public

      Interest Registry, within three (3) business days of receipt of this Order, shall, at

      Burberry’s choosing:

      a. permanently transfer the Defendant Domain Names to Burberry’s control, including

         unlocking and changing the registrar of record for the Defendant Domain Names to a

         registrar of Burberry’s selection; or

      b. disable the Defendant Domain Names and make them inactive and untransferable.



                                                 21
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page22
                                                            23ofof32
                                                                   83PageID
                                                                      PageID#:4130
                                                                             #:1565




3.    The domain name registrars, including, but not limited to, GoDaddy Operating Company,

      LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a PublicDomainRegistry.com (“PDR”),

      and Namecheap Inc. (“Namecheap”), within three (3) business days of receipt of this

      Order, shall take any steps necessary to transfer the Defendant Domain Names to a

      registrar account of Burberry’s selection.

4.    Defaulting Defendants and any third party with actual notice of this Order who is

      providing services for any of the Defaulting Defendants, or in connection with any of

      Defaulting Defendants’ websites at the Defendant Domain Names or other websites

      operated by Defaulting Defendants, including, without limitation, any online marketplace

      platforms such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate,

      web hosts, sponsored search engine or ad-word providers, credit cards, banks, merchant

      account providers, third party processors and other payment processing service providers,

      Internet search engines such as Google, Bing and Yahoo, and domain name registrars,

      including, but not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively,

      the “Third Party Providers”) shall within three (3) business days of receipt of this Order:

      a. disable and cease providing services being used by Defaulting Defendants, currently

         or in the future, to engage in the sale of goods using the BURBERRY Trademarks;

      b. disable and cease displaying any advertisements used by or associated with

         Defaulting Defendants in connection with the sale of counterfeit and infringing goods

         using the BURBERRY Trademarks; and

      c. take all steps necessary to prevent links to the Defendant Domain Names identified

         on Schedule A from displaying in search results, including, but not limited to,

         removing links to the Defendant Domain Names from any search index.



                                               22
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page23
                                                            24ofof32
                                                                   83PageID
                                                                      PageID#:4131
                                                                             #:1566




5.    Pursuant to 15 U.S.C. § 1117(c)(2), Burberry is awarded statutory damages from each of

      the Defaulting Defendants in the amount of one million dollars ($1,000,000) for willful

      use of counterfeit BURBERRY Trademarks on products sold through at least the

      Defendant Internet Stores. The one million dollar ($1,000,000) award shall apply to each

      distinct Defaulting Defendant only once, even if they are listed under multiple different

      aliases in the Amended Complaint and Schedule A.

6.    Any Third Party Providers holding funds for Defaulting Defendants, including PayPal,

      Inc. (“PayPal”), Alipay, Wish.com, and Amazon Pay, shall, within two (2) business days

      of receipt of this Order, permanently restrain and enjoin any non-U.S. based accounts

      connected to Defaulting Defendants, Defaulting Defendants’ Online Marketplace

      Accounts or Defaulting Defendants’ websites identified in Schedule A from transferring

      or disposing of any money or other of Defaulting Defendants’ assets.

7.    All monies currently restrained in Defaulting Defendants’ financial accounts, including

      monies held by Third Party Providers such as PayPal, Alipay, Wish.com, and Amazon

      Pay, are hereby released to Burberry as partial payment of the above-identified damages,

      and Third Party Providers, including PayPal, Alipay, Wish.com, and Amazon Pay, are

      ordered to release to Burberry the amounts from Defaulting Defendants’ financial

      accounts within ten (10) business days of receipt of this Order.

8.    Until Burberry has recovered full payment of monies owed to it by any Defaulting

      Defendant, Burberry shall have the ongoing authority to serve this Order on Third Party

      Providers, including PayPal, Alipay, Wish.com, and Amazon Pay, in the event that any

      new financial accounts controlled or operated by Defaulting Defendants are identified.




                                               23
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page24
                                                            25ofof32
                                                                   83PageID
                                                                      PageID#:4132
                                                                             #:1567




      Upon receipt of this Order, Third Party Providers, including PayPal, Alipay, Wish.com,

      and Amazon Pay, shall within two (2) business days:

      a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

         Defendants’ Online Marketplace Accounts or Defaulting Defendants’ websites,

         including, but not limited to, any financial accounts connected to the information

         listed in Schedule A hereto, the e-mail addresses identified in Exhibits 3 and 4 to the

         Declaration of Dayanara Perez, and any e-mail addresses provided for Defaulting

         Defendants by third parties;

      b. Restrain and enjoin such accounts or funds that are not U.S. based from transferring

         or disposing of any money or other of Defaulting Defendants’ assets; and

      c. Release all monies restrained in Defaulting Defendants’ financial accounts to

         Burberry as partial payment of the above-identified damages within ten (10) business

         days of receipt of this Order.

9.    In the event that Burberry identifies any additional online marketplace accounts, domain

      names or financial accounts owned by Defaulting Defendants, Burberry may send notice

      of any supplemental proceeding to Defaulting Defendants by e-mail at the e-mail

      addresses identified in Exhibits 3 and 4 to the Declaration of Dayanara Perez and any e-

      mail addresses provided for Defaulting Defendants by third parties.




                                             24
 Case:
  Case:1:21-cv-06159
        1:18-cv-07442Document
                      Document#:#:39-1
                                   43 Filed:
                                       Filed:01/15/19
                                              01/28/22Page
                                                       Page25
                                                            26ofof32
                                                                   83PageID
                                                                      PageID#:4133
                                                                             #:1568




10.    The ten thousand dollar ($10,000) cash bond posted by Burberry, including any interest

       minus the registry fee, is hereby released to Burberry or its counsel, Greer Burns & Crain,

       Ltd. The Clerk of the Court is directed to return the cash bond previously deposited with

       the Clerk of the Court to Burberry or its counsel by check made out to the Greer Burns &

       Crain IOLTA account.

This is a Final Judgment.

DATED: January 15, 2019

                                            ___________________________________
                                            Sara L. Ellis
                                            United States District Judge




                                               25
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page127
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14452
                                                                           #:1569
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page228
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14453
                                                                           #:1570
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page329
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14454
                                                                           #:1571
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page430
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14455
                                                                           #:1572
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page531
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14456
                                                                           #:1573
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page632
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14457
                                                                           #:1574
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page733
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14458
                                                                           #:1575
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page834
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14459
                                                                           #:1576
Case:
 Case:1:21-cv-06159
       1:19-cv-04412Document
                     Document#:#:39-1
                                  61 Filed:
                                      Filed:10/08/19
                                             01/28/22Page
                                                      Page935
                                                            of of
                                                               4683
                                                                  PageID
                                                                    PageID
                                                                         #:14460
                                                                           #:1577
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1036ofof4683PageID
                                                                      PageID#:14461
                                                                              #:1578
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1137ofof4683PageID
                                                                      PageID#:14462
                                                                              #:1579
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1238ofof4683PageID
                                                                      PageID#:14463
                                                                              #:1580
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1339ofof4683PageID
                                                                      PageID#:14464
                                                                              #:1581
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1440ofof4683PageID
                                                                      PageID#:14465
                                                                              #:1582
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1541ofof4683PageID
                                                                      PageID#:14466
                                                                              #:1583
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1642ofof4683PageID
                                                                      PageID#:14467
                                                                              #:1584
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1743ofof4683PageID
                                                                      PageID#:14468
                                                                              #:1585
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1844ofof4683PageID
                                                                      PageID#:14469
                                                                              #:1586
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page1945ofof4683PageID
                                                                      PageID#:14470
                                                                              #:1587
Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page2046ofof4683PageID
                                                                      PageID#:14471
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Case:
Case: 1:21-cv-06159
      1:19-cv-04412 Document
                    Document #:
                             #: 39-1
                                61 Filed:
                                     Filed:10/08/19
                                            01/28/22Page
                                                     Page2147ofof4683PageID
                                                                      PageID#:14472
                                                                              #:1589
Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 148ofof2983PageID
                                                                        PageID#:2164
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Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 249ofof2983PageID
                                                                        PageID#:2165
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Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 350ofof2983PageID
                                                                        PageID#:2166
                                                                                #:1592
Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 451ofof2983PageID
                                                                        PageID#:2167
                                                                                #:1593
Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 552ofof2983PageID
                                                                        PageID#:2168
                                                                                #:1594
Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 653ofof2983PageID
                                                                        PageID#:2169
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Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 754ofof2983PageID
                                                                        PageID#:2170
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Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 855ofof2983PageID
                                                                        PageID#:2171
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Case:
 Case:1:21-cv-06159
        1:19-cv-07629Document
                      Document#:#:39-1
                                   65 Filed:
                                       Filed: 02/18/20
                                              01/28/22 Page
                                                       Page 956ofof2983PageID
                                                                        PageID#:2172
                                                                                #:1598
Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page10
                                                           57ofof29
                                                                  83PageID
                                                                     PageID#:2173
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page11
                                                           58ofof29
                                                                  83PageID
                                                                     PageID#:2174
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page12
                                                           59ofof29
                                                                  83PageID
                                                                     PageID#:2175
                                                                            #:1601
Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page13
                                                           60ofof29
                                                                  83PageID
                                                                     PageID#:2176
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page14
                                                           61ofof29
                                                                  83PageID
                                                                     PageID#:2177
                                                                            #:1603
Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page15
                                                           62ofof29
                                                                  83PageID
                                                                     PageID#:2178
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page16
                                                           63ofof29
                                                                  83PageID
                                                                     PageID#:2179
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
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                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page17
                                                           64ofof29
                                                                  83PageID
                                                                     PageID#:2180
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
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                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page18
                                                           65ofof29
                                                                  83PageID
                                                                     PageID#:2181
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page19
                                                           66ofof29
                                                                  83PageID
                                                                     PageID#:2182
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page20
                                                           67ofof29
                                                                  83PageID
                                                                     PageID#:2183
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page21
                                                           68ofof29
                                                                  83PageID
                                                                     PageID#:2184
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page22
                                                           69ofof29
                                                                  83PageID
                                                                     PageID#:2185
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Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page23
                                                           70ofof29
                                                                  83PageID
                                                                     PageID#:2186
                                                                            #:1612
Case:
 Case:1:21-cv-06159
       1:19-cv-07629Document
                     Document#:#:39-1
                                  65 Filed:
                                      Filed:02/18/20
                                             01/28/22Page
                                                      Page24
                                                           71ofof29
                                                                  83PageID
                                                                     PageID#:2187
                                                                            #:1613
 Case:
  Case:1:21-cv-06159
         1:14-cv-08220Document
                       Document#:#:39-1 Filed: 12/11/14
                                    45 Filed:  01/28/22 Page
                                                        Page 172ofof3383PageID
                                                                         PageID#:5358
                                                                                 #:1614




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BURBERRY LIMITED, a United Kingdom              )
corporation, and BURBERRY LIMITED, a New        )
York corporation,
                                                     Case   No. l4-cv-8220
                           Plaintiffs,
                                                     Judge John W. Darrah
        v.
                                                     Magistrate Judge Geraldine Soat Brown
THE PARTNERSHIPS aNd
UNINCORPORATED AS SOCIATIONS
IDENTIFIED ON SCHEDULE "A,"

                           Defendants.

                                     FINAL JUDGMENT ORDER

        This action having been commenced by Plaintiffs Burberry Limited, a United Kingdom

corporation ("Burberry UK"), and Burberry Limited, a New York corporation ("Burberry US"),

together, 'oBurberry" or "Plaintiffs," against the Partnerships and Unincorporated Associations

identified on Amended Schedule A attached hereto (collectively, the "Defendants"), and using

the Defendant Domain Names and Online Marketplace Accounts (collectively, the "Defendant

Intemet Stores");

        This Court having entered upon a showing by Burberry, a temporary restraining order

and preliminary injunction against Defendants which included a domain name transfer order and

asset restraining order;

        Burberry having properly completed service of process on Defendants, the combination

of providing notice via electronic publication or email, along with any notice that Defendants

received from domain name registrars and payment processors, being notice reasonably
 Case:
  Case:1:21-cv-06159
         1:14-cv-08220Document
                       Document#:#:39-1 Filed: 12/11/14
                                    45 Filed:  01/28/22 Page
                                                        Page 273ofof3383PageID
                                                                         PageID#:5359
                                                                                 #:1615




calculated under all circumstances to apprise Defendants      of the pendency of the action    and

affording them the opportunity to answer and present their objections; and

       None of the Defendants identified in Amended Schedule A attached hereto (collectively,

the "Defaulting Defendants") having answered the Complaint or appeared in any way, and the

time for answering the Complaint having expired;

       THIS COURT HEREBY FINDS that Defaulting Defendants are liable for willful federal

trademark infringement and counterfeiting (15 U.S.C. $ 1114), false designation of origin (15

U.S.C. g ll25(a)), cybersquatting (15 U.S.C. $ 1125(d)) and violation of the Illinois Uniform

Deceptive Trade Practices Act (815 ILCS $ 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiffs' Motion for Entry of Default and Default
Judgment is GRANTED        in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that:

1.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or     in active concert

       with them be permanently enjoined and restrained from:

       a.   using Burberry's BURBERRY Trademarks or any reproductions, counterfeit copies

            or colorable imitations thereof in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a genuine

            Burberry Product or not authorized by Burberry        to be sold in   connection with

            Burberry's BURBERRY Trademarks;

       b.   passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Burberry Product or any other product produced by Burberry, that is not Burberry's
Case:
 Case:1:21-cv-06159
        1:14-cv-08220Document
                      Document#:#:39-1 Filed: 12/11/14
                                   45 Filed:  01/28/22 Page
                                                       Page 374ofof3383PageID
                                                                        PageID#:5360
                                                                                #:1616




          or not produced under the authorization, control or supervision of Burberry         and

          approved by Burberry for sale under Burberry's BURBERRY Trademarks;

          committing any acts calculated       to   cause consumers   to believe that   Defaulting

          Defendants' products are those sold under the authorization, control or supervision of

          Burberry, or are sponsored by, approved by, or otherwise connected with Burberry;

     d.   further infringing Burberry's BURBERRY Trademarks and damaging Burberry's

          goodwill;

     e.   otherwise competing unfairly with Burberry in any manner;

     f.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

          distributing, returning,   or   otherwise disposing   of, in any manner,   products or

          inventory not manufactured by or for Burberry, nor authorized by Burberry to be sold

          or offered for sale, and which bear any of Burberry's BURBERRY Trademarks or

          any reproductions, counterfeit copies or colorable imitations thereof;

     o
     b'   using, linking to, transferring, selling, exercising control over, or otherwise owning

          the Online Marketplace Accounts, the Defendant Domain Names or any other domain

          name or online marketplace account that is being used to sell or is the means by

          which Defaulting Defendants could continue to sell Counterfeit Burberry Products;

          and

     h.   operating and/or hosting websites at the Defendant Domain Names and any other

          domain names registered or operated by Defaulting Defendants that are involved with

          the distribution, marketing, advertising, offering for sale, or sale of any product

          bearing the BURBERRY Trademarks            or any reproductions, counterfeit copies or
 Case:
  Case:1:21-cv-06159
         1:14-cv-08220Document
                       Document#:#:39-1 Filed: 12/11/14
                                    45 Filed:  01/28/22 Page
                                                        Page 475ofof3383PageID
                                                                         PageID#:5361
                                                                                 #:1617




           colorable imitations thereof that is not a genuine Burberry Product or not authorized

           by Burberry to be sold in connection with Burberry's BURBERRY Trademarks.

2.    The Defendant Domain Names are perrnanently transferred to Burberry's control. The

      domain name registries for the Defendant Domain Names, including, but not limited to,

      VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet and the Public

      Interest Registry, within three (3) business days of receipt of this Order, shall unlock and

      change the registrar   of   record for the Defendant Domain Names        to a registrar of
      Burberry's selection, and the domain name registrars shall take any steps necessary to

      transfer the Defendant Domain Names to Burberry's account at a registrar of Burberry's

      selection.

J.    Those in privity with Defendants and with actual notice of this Order, including any

      online marketplaces such as iOffer, social media platforms, Facebook, YouTube,

      Linkedln, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts

      for the Defendant Domain Names, and domain name registrars, shall within three (3)

      business days of receipt of this Order:

      a.   disable and cease providing services for any accounts through which Defaulting

           Defendants engage      in the sale of   counterfeit and infringing goods using the

           BURBERRY Trademarks, including any accounts associated with the Defaulting

           Defendants listed on Amended Schedule A attached hereto;

      b.   disable and cease displaying any advertisements used          by or   associated with

           Defaulting Defendants in connection with the sale of counterfeit and infringing goods

           using the BURBERRY Trademarks; and
     Case:
      Case:1:21-cv-06159
             1:14-cv-08220Document
                           Document#:#:39-1 Filed: 12/11/14
                                        45 Filed:  01/28/22 Page
                                                            Page 576ofof3383PageID
                                                                             PageID#:5362
                                                                                     #:1618




          c.   take all steps necessary to prevent links to the Defendant Domain Names identified

               on Amended Schedule A from displaying in search results, including, but not limited

               to, removing links to the Defendant Domain Names from any search index.

4.        Pursuant   to 15 U.S.C. $ I I l7(c)(2), Burberry is awarded statutory   damages from each   of

          the Defaulting Defendants in the amount of two million dollars ($2,000,000) for willful

          use   of   counterfeit BURBERRY Trademarks on products sold through at least the

          Defendant Internet Stores.

5.        Western Union shall, within two (2) business days of receipt of this Order, permanently

          block any Western Union money transfers and funds from being received by the

          Defaulting Defendants identified in Amended Schedule A.

6.        PayPal, Inc. ("PayPal") shall, within two (2) business days       of receipt of this Order,

          permanently restrain and enjoin any China or Hong Kong based accounts connected to

          Defaulting Defendants, Defaulting Defendants' Online Marketplace Accounts or

          Defaulting Defendants' websites identified in Amended Schedule A from transferring or

          disposing of any money or other of Defaulting Defendants' assets.

7.        All monies currently   restrained in Defaulting Defendants' financial accounts, including

          monies held by PayPal, are hereby released to Burberry as partial payment of the above-

          identified damages, and PayPal is ordered to release to Burberry the amounts from

          Defaulting Defendants' PayPal accounts within ten (10) business days of receipt of this

          Order.

8.        Until Burberry has recovered full payment of monies owed to it by any Defaulting

          Defendant, Burberry shall have the ongoing authority to serve this Order on PayPal in the
 Case:
  Case:1:21-cv-06159
         1:14-cv-08220Document
                       Document#:#:39-1 Filed: 12/11/14
                                    45 Filed:  01/28/22 Page
                                                        Page 677ofof3383PageID
                                                                         PageID#:5363
                                                                                 #:1619




      event that any new PayPal accounts controlled or operated by Defaulting Defendants are

      identified. Upon receipt of this Order, PayPal shall within two (2) business days:

      a.   Locate    all   accounts and funds connected    to Defaulting Defendants,    Defaulting

           Defendants' Online Marketplace Accounts          or Defaulting    Defendants' websites,

           including, but not limited to, any PayPal accounts;

      b.   Restrain and enjoin such accounts or funds that are China or Hong Kong based from

           transferring or disposing of any money or other of Defaulting Defendants' assets; and

           Release all monies restrained    in Defaulting Defendants' PayPal accounts to Burberry

           as   partial payment of the above-identified damages within ten (10) business days of

           receipt of this Order.

9.    Until Burberry has recovered full payment of monies owed to it by any Defaulting

      Defendant, Burberry shall have the ongoing authority to serve this Order on any banks,

      savings and loan associations, or other financial institutions (collectively, the "Financial

      Service Providers") in the event that any new financial accounts controlled or operated by

      Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

      Providers shall within two (2) business days:

      a.   Locate    all   accounts connected   to Defaulting   Defendants, Defaulting Defendants'

           Online Marketplace Accounts or Defaulting Defendants' websites;

      b.   Restrain and enjoin such accounts from receiving, transferring or disposing of any

           money or other of Defaulting Defendants' assets; and

      c. Release all monies restrained in Defaulting Defendants'             financial accounts to

           Burberry as partial payment of the above-identified damages within ten (10) business

           days of receipt of this Order.
 Case:
  Case:1:21-cv-06159
         1:14-cv-08220Document
                       Document#:#:39-1 Filed: 12/11/14
                                    45 Filed:  01/28/22 Page
                                                        Page 778ofof3383PageID
                                                                         PageID#:5364
                                                                                 #:1620




10.    In the event that Burberry identifies any additional online marketplace accounts, domain

       names or financial accounts owned by Defaulting Defendants, Burbeffy may send notice

       of any supplemental proceeding to Defaulting Defendants by email at the email addresses

       identified in Amended Schedule A attached hereto.

11.    The ten thousand dollar ($10,000) cash bond posted by Burberry, including any interest

       minus the registry fee, is hereby released to Burberry or its counsel, Greer Burns   & Crain,

       Ltd. The Clerk of the Court is directed to return the cash bond previously deposited with

       the Clerk of the Court to Burberry or its counsel by check made out to the Greer Burns     &

       Crain IOLTA account.

This is a Final Judgment.

DATED:December       I/     ,2014



                                                        rict Court Judge John W. Darrah
Case: 1:21-cv-06159
  Case:             Document
        1:13-cv-02958        #: #:
                      Document  39-1
                                   37 Filed:
                                      Filed: 01/28/22
                                             06/17/13 Page
                                                      Page 79
                                                           1 ofof583 PageID
                                                                   PageID   #:1621
                                                                          #:5545
Case: 1:21-cv-06159
  Case:             Document
        1:13-cv-02958        #: #:
                      Document  39-1
                                   37 Filed:
                                      Filed: 01/28/22
                                             06/17/13 Page
                                                      Page 80
                                                           2 ofof583 PageID
                                                                   PageID   #:1622
                                                                          #:5546
Case: 1:21-cv-06159
  Case:             Document
        1:13-cv-02958        #: #:
                      Document  39-1
                                   37 Filed:
                                      Filed: 01/28/22
                                             06/17/13 Page
                                                      Page 81
                                                           3 ofof583 PageID
                                                                   PageID   #:1623
                                                                          #:5547
Case: 1:21-cv-06159
  Case:             Document
        1:13-cv-02958        #: #:
                      Document  39-1
                                   37 Filed:
                                      Filed: 01/28/22
                                             06/17/13 Page
                                                      Page 82
                                                           4 ofof583 PageID
                                                                   PageID   #:1624
                                                                          #:5548
Case: 1:21-cv-06159
  Case:             Document
        1:13-cv-02958        #: #:
                      Document  39-1
                                   37 Filed:
                                      Filed: 01/28/22
                                             06/17/13 Page
                                                      Page 83
                                                           5 ofof583 PageID
                                                                   PageID   #:1625
                                                                          #:5549
